           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:14 cr 20

UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )            ORDER
                                                    )
ELY RAMIREZ-SANCHEZ.                                )
__________________________________                  )

       THIS MATTER has come before the undersigned pursuant to a Motion to

Appoint Spanish Interpreter (#35) filed by counsel for Defendant. In the motion,

Defendant’s counsel request that services for an interpreter be provided for

Defendant.

       It appears to the undersigned this motion has been filed pursuant to, 18

U.S.C. § 3006A(e). That statute provides as follows:

       (e)   Services other than counsel.

       (1) Upon request.---Counsel for a person who is financially unable
       to obtain investigative, expert, or other services necessary for
       adequate representation may request them in an ex parte application.
       Upon finding, after appropriate inquiry in an ex parte proceeding, that
       the services are necessary and that the person is financially unable to
       obtain them, the court, or the United States magistrate judge if the
       services are required in connection with a matter over which he has
       jurisdiction, shall authorize counsel to obtain the services.

        The Court has examined the file in this matter and it appears that Defendant

has been found by the Court to be indigent and is financially unable to obtain the

                                         1



      Case 1:14-cr-00020-MR-DLH     Document 38     Filed 08/22/14   Page 1 of 2
services of an interpreter. It further appears that the services of an interpreter are

necessary and are required for an appropriate defense of Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Appoint Spanish

Interpreter (#35) is ALLOWED.          It is further ORDERED that counsel for

Defendant may retain the services of an interpreter in this matter at a cost not to

exceed the sum of $2,400 as provided by 18 U.S.C. § 3006A(e)(3).


                                       Signed: August 22, 2014




                                          2



    Case 1:14-cr-00020-MR-DLH       Document 38        Filed 08/22/14   Page 2 of 2
